 

Case: 1:20-cv-05639 Document #: 20 Filed: 02/22/22 Page 1 of 8 PagelD #:78 SM

[If you need additional space for ANY section, please attach an additional sheet and reference that section.]

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION RECEIVE D

FEB 22 2022 S-

Vet # whi spoees THOMAS G. BRUTON
CLERK, U.S. DISTRICT COURT

 

 

(Enter above the full name

 

 

rat «4s ee 2 . ; , 4 on g
hiseioy plaintiffs in | . fier W Pree we FOLAS C
vs. Case No: AO C SOSH
ZY, FT pe (To be supplied by the Clerk of this Court)

WV IME Sf: Dark

Jbttada ©. alle 228

 

 

 

 

(Enter above the full name of ALL
defendants in this action. Do not
use "et al.")

CHECK ONE ONLY: AMENDED COMPLAINT

L~ COMPLAINT UNDER THE CIVIL RIGHTS ACT, TITLE 42 SECTION 1983
U.S. Code (state, county, or municipal defendants)

COMPLAINT UNDER THE CONSTITUTION ("BIVENS" ACTION), TITLE
28 SECTION 1331 U.S. Code (federal defendants)

OTHER (cite statute, if known)

BEFORE FILLING OUT THIS COMPLAINT, PLEASE REFER TO "INSTRUCTIONS FOR
FILING." FOLLOW THESE INSTRUCTIONS CAREFULLY.

[If you need additional space for ANY section, please attach an additional sheet and reference that section.]
 

Il.

Case: 1:20-cv-05639 Document #: 20 Filed: 02/22/22 Page 2 of 8 PagelD #:79

[If you need additional space for ANY section, please attach an additional sheet and reference that section.]

 

Plaintiff(s):

—_—_—7, r ‘
A. Name: LYRLVE ZL, Vif
B. List all aliases:

 

C. Prisoner identification number: NM CTA Ze OS

D. Place of present confinement: 4/46 4Z WZ Ki eK

E. Address: 2.9/4 Khost 37 ZL FL CALEY
(if there is more than one plaintiff, then each plaintiff must list his or her name, aliases, I.D.
number, place of confinement, .and current address according to the above format on a
separate sheet of paper.)

Defendant(s):

(In A below, place the full name of the first defendant in the first blank, his or her official

position in the second blank, and his or her place of employment in the third blank. Space
for two additional defendants is provided in B and C.)

A. Defendant: Aevyas 2f: Dar”
Title: COOK C2, ttt SA ek Fi -
Place of Employment: Cock Ceuyupty ae
B. Defendant: titan. GAMEIOS
Title: z. KECHY 4 ve. J) We fo
Place of Employment: “~@@AK CONAPY ; Tal

C. Defendant:

 

Title:

 

Place of Employment:

 

(If you have more than three defendants, then all additional defendants must be listed
according to the above format on a separate sheet of paper.)

2 Revised 9/2007

[If you need additional space for ANY section, please attach an additional sheet and reference that section.]
Case: 1:20-cv-05639 Document #: 20 Filed: 02/22/22 Page 3 of 8 PagelD #:80

[If you need additional space for ANY section, please attach an additional sheet and reference that section.]

Ill. List ALL lawsuits you (and your co-plaintiffs, if any) have filed in any state or federal
court in the United States:

A. Name of case and docket number: HA
B. Approximate date of filing lawsuit: 4.

C, List all plaintiffs (if you had co-plaintiffs), including any aliases:
Pra LT

ee

A A

 

D. List all defendants:

 

<

LZZAL
a aa as

Ei Court in which the lawsuit ee As name the district; if state court,
name the county): =
Y]
F. Name of judge to whom case was assigned: MLL.

G. Basic claim made: LF

 

 

 

 

 

 

Hi Disposition of this case (for example: Was the case dismissed? Was it appealed?
Is it still pending?): a fof )
ZL. Z A SA
Ze

L Approximate date of disposition: te pe ee

é

IF YOU HAVE FILED MORE THAN ONE LAWSUIT, THEN YOU MUST DESCRIBE THE
ADDITIONAL LAWSUITS ON ANOTHER PIECE OF PAPER, USING THIS SAME
FORMAT. REGARDLESS OF HOW MANY CASES YOU HAVE PREVIOUSLY FILED,
YOU WILL NOT BE EXCUSED FROM FILLING OUT THIS SECTION COMPLETELY,
AND FAILURE TO DO SO MAY RESULT IN DISMISSAL OF YOUR CASE. CO-
PLAINTIFFS MUST ALSO LIST ALL CASES THEY HAVE FILED.

3 Revised 9/2007

[If you need additional space for ANY section, please attach an additional sheet and reference that section.]
Case: 1:20-cv-05639 Document #: 20 Filed: 02/22/22 Page 4 of 8 PagelD #:81

[If you need additional space for ANY section, please attach an additional sheet and reference that section.]

IV. Statement of Claim:

State here as briefly as possible the facts of your case. Describe how each defendant is
involved, including names, dates, and places. Do not give any legal arguments or cite any
cases or statutes. If you intend to allege a number of related claims, number and set forth

each claim in a separate paragraph. (Use as much space as you need. Attach extra sheets
if necessary.)

z= ee Pe ee 2 @R GA Loan?
DI20Y Q -/é eC AOoaA/ = was LHe wel LEAL
Dil 6 - RR #o Dre Ss and was ALL Lt

| teeth abot 20 Icke
sta Xxes ALY wi L “es fooL Past bre Avk Khe

COLOCABL AAS ¢ EZ Ze Ccoywe VEY Sreok- Loy =, WML LUCE

 

were Shorpttess of ARECATK- Lares GUC - LK evexnr —

hi flee Ought ng = LOMEC/E and Lode aches ¢—
Aheedache — Se Sa Ie C4 Sa SKE.
BAutthee veg = LU 24 Atoal es sokhe— KAMLMES
DASE — KIAUSCA— HAL 4 Acc. along LO4 YW
Yo L-t2 A YAS or ILWCY any Le Or
Wed Lon Mile z= Was wt CBitakat> Ye
& werr MhetGh (arn And SUlLCR ine LOR
ahottl! dak 2iwweeks. LY TAortas Dart
Zeng fhe Shett 4 OF COlK County’ A rl
A Mtv a Caves gos Acorns The Zreahbe

Dikhecihik BAF CECEL COUnLY wa DLL - he iil Ze Le

Revised 9/2007

[If you need additional space for ANY section, please attach an additional sheet and reference that section.]
Case: 1:20-cv-05639 Document #: 20 Filed: 02/22/22 Page 5 of 8 PagelD #:82

[If you need additional space for ANY section, please attach an additional sheet and reference that section.]

ba ne ST Loca Ait aw Oo MM 2 O
on on Shee Far. Lad « (et onalinD ae LS
bet alate gf fhe gexpouspescs Of LRA

c orl - JF LVLLAS ZECALLC. SW dws Aw LO
OLLCRS Aace pod ctu See VERUE .

LB 2 LO MY SHERLMOUS: Le Soar’ Ao CKA /
Ss ce! G4ioXK on ne ez ear cS Yo te
LL. AY) LAI Sar ew eanpihenn x Uhh Liartes
fale even “Woke ax Arahek Ae Vhe = ZL
hove Lhes (2 sease When = FoF Kock al

MW on Fhe Cock gout! Dal

 

 

 

 

 

 

 

 

 

 

 

5 Revised 9/2007

[If you need additional space for ANY section, please attach an additional sheet and reference that section.]
Case: 1:20-cv-05639 Document #: 20 Filed: 02/22/22 Page 6 of 8 PagelD #:83

[If you need additional space for ANY section, please attach an additional sheet and reference that section.]

Vv. Relief:

State briefly exactly what you want the court to do for you. Make no legal arguments. Cite
no cases or statutes.

Leable 2s Senta nde Letacti LE. ental

COMAZASLL ORY Llatinges 171 LAE Pat} OF
H/ICO. MOQ 00 ~KtelA_@ach OL AHA~4Ze|e

LDehencdapts« pkLA «= COMDLYauUt- ACRE LY

 

VI. _ The plaintiff demands that the case be tried by a jury. YES LI NO

CERTIFICATION

By signing this Complaint, I certify that the facts stated in this
Complaint are true to the best of my knowledge, information and

belief. I understand that if this certification is not correct, I may be
subject to sanctions by the Court.

Signed this day of , 20

 

 

(Signature of plaintiff or plaintiffs)

LK Cyt kK: Mbtoad.

(Print name)

VK P, ML LAMA S,

(1.D. Number) ADS IE S

LE DULY RIVER

Ml) aL. HUv ED ern tl 6A IE

(Address)

6

Revised 9/2007
[If you need additional space for ANY section, please attach an additional sheet and reference that section.]
 

CL eRK oF Yh 2 NS» Dy

 

FEB 22 2022 RAID sS0uN%f DearRZok)) sfkee z

THOMAS G. BRUTON ce = a oo

we

. _

LERK, US. DISTRICT COURT ~__/

 

 

7 Z cS STA x Lf 4 SOSOagiyIe-cosS ila ebb

 

co
AK
w
oe
AO
~~.
N
pa
LM
N
N
rs)
8 :
i x . Py
| © #T LV ED i, Ds f ohn — ALE I ie
O& . BCE Jatt) ss? €Zc Pe f= Ce tf SLOAS
+
ec As
©
&
a)
Oo
}
Q
ey
o
©
re)
oO
>
Oo
oO
N
oo
a
Y
©
O
I FOWW ONY FTV TOAITY SI JdO TIANT SIHL
. ? ANDINOD HFWIISNOO LS0d %08 ALIN FOVW ONY FTEYTIAITY S! JdOTSAN Sil
9102 SdSN O

 

81-CC0C/2Z/ZO

TT

 

:20-cv-05639 Document #: 20 Filed: 02/22/22 Page 8 of 8 PagelD #:85

 

Case:
